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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



STATE OF NEW YORK, et al.,

  Plaintiffs,
                                                           C.A. No. 1:25-cv-10601
                v.
                                                           DECLARATION OF COLLEEN
LINDA McMAHON, et al.,                                     CAMPBELL
  Defendants.




                       DECLARATION OF COLLEEN CAMPBELL
       Pursuant to 28 U.S.C. § 1746, I, Colleen Campbell, hereby declare as follows:

       1.       I am a resident of Maryland. I am over the age of 18 and have personal

knowledge of all the facts stated herein, though personal experience, documents and records I

have reviewed, and conversations with my colleagues. If called as a witness, I could and would

testify competently to the matters set forth below.

       2.       This declaration is submitted in support of the States’ Request for a Preliminary

Injunction.

       3.       I am the Executive Director of the Office of Loan Portfolio Management at the

Department of Education’s Office of Federal Student Aid (FSA), a position I officially took in

February 2025, when this unit was first created due to a reorganization. I have worked for the

Department since November 2019. I began as a supervisory public affairs specialist in FSA in a

unit called the Next Gen Program Office, an initiative to rebuild FSA’s technology

infrastructure, including loan servicing. Since December 2021, I have served as a program

manager responsible for procuring and implementing new loan servicing contracts.
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       4.     The Office of Loan Portfolio Management oversees four divisions:

                  a.   The Program Implementation Division, which facilitates the management

                       of several program benefits available to student loan borrowers, oversees

                       audits of servicing and collections, and a group of Contracting Office

                       Representatives (CORs) who manage the administrative aspects of

                       servicing and collections contracts;

                  b. The Loan Operations Division, which manages day-to-day administration

                       of student loan servicers and the debt collection system;

                  c. The Borrower Processing Division, which performs hands-on management

                       work related to student loan accounts, including inherently governmental

                       functions like validating eligibility for forgiveness and discharge, and

                       responding to escalated cases; and

                  d. The Vendor Performance Division, an oversight function of all of student

                       loan servicing and collections, responsible for validating servicer data

                       reporting, measuring service-level agreements and ensuring compliance

                       with federal and state law and federal contract requirements.

       5.     On February 28, 2025, I received an email from the Department of Education

(“the Department”) offering a Voluntary Incentive Separation Payment (VSIP), a payment to

voluntarily leave the Department. I decided to take the VSIP offer on March 3, 2025. However,

on March 4, 2025, members of the leadership team at FSA and ED approached me and

convinced me to rescind the VSIP offer.

       6.     One week later, on March 11, 2025, the Department announced large scale

reductions-in-force (RIFs) of the Department (“the RIF Announcement”), including the entire
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Vendor Performance Division. After I was vocally critical of the approach the leadership team

was taking, leadership at FSA asked if I wanted to be placed back on the VSIP list. I said yes. I

made this decision because I did not feel that it was possible to be successful in fulfilling our

mission and providing adequate service to loan borrowers based on the significant reductions

made to FSA’s civil servant staff.

       7.      Despite my role in leadership in FSA, I only received notice of the RIF

Announcement in a meeting that started at 5:50pm, 10 minutes before announcements were sent

out to staff. I only learned which of my staff were cut through word of mouth that night. I did not

learn which divisions across FSA were subject to the RIF until the next day, March 12, when the

list of divisions that were cut were shown during a senior leadership team meeting.

       8.      Aside from the Vendor Performance Division, the three other divisions that report

to me did not face RIFs. However, we had lost substantial numbers of employes due to the

various incentives that the Department offered to voluntarily leave, including VSIP, the Deferred

Resignation Program, and Voluntary Early Retirement Authority (VERA) (collectively,

“Voluntary Incentive Offers”). In January 2025, I had about 200 employees who reported to me

when I officially started my role in early February 2025. As of March 19, 2025, that number has

reduced by half, down to about 110 employees. Fifty out of 90 of employees have been cut from

the RIF, while others left because of the Voluntary Inventive Offers.

       9.      Based on my knowledge and experience, it is not feasible for other units in the

Department to take over the work of the Vendor Performance Division, which was entirely

eliminated by the RIF Announcement.

       10.     Since we had just reorganized, it had been challenging to ensure adequate transfer

of institutional knowledge to the newly formed Office of Loan Portfolio Management prior to the
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RIF Announcement. The same night as the RIF Announcement, the Department removed staff’s

ability to access shared documents, the Microsoft Teams application that we use to conduct

meetings and communicate with one another, and ability to send emails outside of the

Department. By disabling staff’s ability to meaningfully participate in their work prior to

administrative leave, which was scheduled to begin on March 21, 2025, transfer of knowledge

was extremely difficult.

       11.     Since the Trump administration took office, leadership in the Department has

repeatedly said that we need to “do less with less.” They have also said we need to “stop offering

customers the Cadillac and give them the Toyota instead.” I understand this to mean that

leadership has embraced the ethos of the Department of Governmental Efficiency (DOGE) and

believe that the government’s work should be confined to only what is statutorily required. These

directives reflect a fundamental misunderstanding of the complexity of the work that FSA

performs to administer and oversee aid to students and schools.

       12.     Prior to the RIF Announcement, I was involved in several drills in which the

Department discussed cuts to major contracts according to the edicts of DOGE. We were asked

to make substantial cuts to specific vendors that it seemed DOGE had specifically targeted,

without legitimate justification of which I was aware. We also looked at cutting FSA’s call

centers, including those managed by loan servicers.

       13.     Based on my knowledge and experience, it is impossible that FSA will be able to

comply with its statutory obligations after the RIF Announcement. It had already been difficult

for us to fulfill our obligations before the announcement FSA has been nearly flat funded since

fiscal year 2022. In addition to statutory functions, FSA is also responsible for complying with a

variety of court orders, and challenges in having to transition that work quickly due to Voluntary
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Incentive Offers puts that work at risk. This includes work on the Sweet v Trump settlement and

the injunction on the Saving for a Valuable Education (SAVE) plan.

       14.     Last year, the Department needed to pause PSLF processing because we were

transitioning the administration of PSLF from the servicer Mohela into FSA’s systems. We were

delayed in this transfer because our servicers were late in implementing the Income Driven

Repayment (IDR) Account Adjustment, which required servicers to provide information on if

each month of repayment history that a borrower made in the past was eligible or ineligible for

both IDR forgiveness and Public Service Loan Forgiveness (PSLF) and Temporary Expanded

PSLF (TEPSLF). It took FSA several months of validating and having servicers re-report data

before we felt confident borrowers’ payment counts were accurate and consistent. Going

forward, servicers are responsible for reporting borrowers’ monthly payment data correctly, and

the majority of people who implemented this policy and performed verification of servicer data

have largely left the department either voluntarily or through the RIF.

       15.     Additionally, the team that performed oversight of borrower account transfers

between servicers was subject to the RIF. Going forward, the onus will largely be on student,

parents, borrowers, and schools to identify and advocate for resolution of their issues, rather than

FSA finding and fixing them proactively. It was stated in a senior leadership meeting that

“oversight and audit” areas of the organization were eliminated via the RIF, which introduces

risk not only for the 43 million student loan borrowers managed by FSA, but the entirety of the

aid system, including oversight of contractors managing other mission critical systems.

       16.     As another example of units that were cut without understanding of the impact,

three units within the Chief Technology Office of FSA were originally cut entirely in the RIF

Announcement. As a result, the staff who were responsible for overseeing the complex network
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of technology infrastructure used by FSA and FSA vendors were gone. When leadership realized

this was a problem, they started to reinstate some, but not all, of the staff in these areas who were

subject to the RIF.

       17.     I expect we will see issues wherein these complex, intertwined technology

systems cannot be adequately managed because so many of the people experienced in identifying

and resolving incidents will have left the Department. This puts critical functions, like the

FAFSA, aid disbursement, and loan repayment at risk.

      I declare under penalty of perjury under the laws of the United States that, to the best of

my knowledge, the foregoing is true and correct.

      Executed on March 24, 2025.


                                              _____/s/ Colleen Campbell______
                                                     COLLEEN CAMPBELL
